Case 2:25-cv-00127-JCC   Document 12-5   Filed 01/21/25   Page 1 of 7




                  POLOZOLA DECLARATION
                                                    EXHIBIT 4
                      Case 2:25-cv-00127-JCC U.S. Department
                                              Document   12-5of State
                                                                   Filed 01/21/25                          PageOMB
                                                                                                                2 ofControl
                                                                                                                     7 No. 1405-0004
                                         APPLICATION FOR A U.S. PASSPORT                                         Expiration Date: 04-30-2025
                                                                                                                 Estimated Burden: 85 Minutes
                         Please read all instructions first and type or print in black ink to complete this form.
              For information or questions, visit travel.state.gov or contact the National Passport Information Center (NPIC) at
                                      1-877-487-2778 (TDD/TTY: 1-888-874-7793) or NPIC@state.gov.
                                               SECTION A. ELIGIBILITY TO USE THIS FORM
This form is used to apply for a U.S. passport book and/or card in person at an acceptance facility, a passport agency (by appointment
only), or a U.S. embassy, consulate, or consular agency (if abroad). The U.S. passport is a travel document attesting to one’s identity and
issued to U.S. citizens or non-citizen U.S. nationals. To be eligible to use this form you must apply in person if at least one of the following
is true:
            I am applying for my first U.S. passport            My previous U.S. passport was either: a) issued under age 16;
            I am under age 16                                      b) issued more than 15 years ago; c) lost, stolen, or damaged
If none of the above statements apply to you, then you may be eligible to apply using form DS-82 or DS-5504 depending on your
circumstances. Visit travel.state.gov for more information.
•   Notice to Applicants Under Age 16: You must appear in person to apply for a U.S. passport with your parent(s) or legal guardian(s).
    See Section D of these instructions or travel.state.gov for more details.
•   Notice to Applicants Ages 16 and 17: At least one of your parent(s) or legal guardian(s) must know that you are applying for a U.S.
    passport. See Section D of these instructions or travel.state.gov for more details.
•   Notice to Applicants for No-Fee Regular, Service, Official, or Diplomatic Passports: You may use this application if you meet all
    provisions listed; however, you must consult your sponsoring agency for instructions on proper routing procedures before forwarding
    this application. Your completed passport will be released to your sponsoring agency and forwarded to you.
                                        SECTION B. STEPS TO APPLY FOR A U.S. PASSPORT
    1.   Complete this form (Do not sign until requested to do so by an authorized agent).
    2.   Attach one color photograph 2x2 inches in size and supporting documents (See Section D of these instructions).
    3.   Schedule appointment to apply in person by visiting our website or calling NPIC (see contact info at the top page).
    4.   Arrive for appointment and present completed form and attachments to the authorized agent who will administer the oath, witness
         you signing your form, and collect your passport fee.
    5.   Track application status online at Passportstatus.state.gov.
    6.   Receive new passport and original supporting documents (that you submitted with your application).
                                             SECTION C. HOW TO COMPLETE THIS FORM
Please see the instructions below for items on the form that are not self-explanatory. The numbers match the numbered items of the form.
1. Name (Last, First, Middle): Enter the name to appear in the passport. The name to appear in the passport should be consistent with
    your proof of citizenship and identification. If you have changed your name and are not eligible to use a DS-82 or DS-5504, you must
    use this form. Visit travel.state.gov/namechange for more information.
2. Date of Birth: Use the following format: Month, Date, and Year (MM/DD/YYYY).
3. Gender: The gender markers used are “M” (male), “F” (female) and “X” (unspecified or another gender identity). The gender marker
    that you check on this form will appear in your passport regardless of the gender marker(s) on your previous passport and/or your
    supporting evidence of citizenship and identity. If changing your gender marker from what was printed on your previous passport,
    select “Yes” in this field on Application Page 1. If no gender marker is selected, we may print the gender as listed on your
    supporting evidence or contact you for more information. Please Note: We cannot guarantee that other countries you visit or travel
    through will recognize the gender marker on your passport. Visit travel.state.gov/gender for more information.
4. Place of Birth: Enter the name of the city and state if in the U.S. or city and country as presently known.
5. Social Security Number: You must provide a Social Security number (SSN), if you have been issued one, in accordance with Section
    6039E of the Internal Revenue Code (26 U.S.C. 6039E) and 22 U.S.C 2714a(f). If you do not have a Social Security number, you must
    enter zeros in this field and submit a statement, signed, and dated, that includes the phrase, “I declare under penalty of perjury under
    the laws of the United States of America that the following is true and correct: I have never been issued a Social Security Number by
    the Social Security Administration.” If you reside abroad, you must also provide the name of the foreign country where you reside. The
    U.S. Department of State must provide your SSN and foreign residence information to the U.S. Department of the Treasury which will
    use it in connection with debt collection and check against lists of persons ineligible or potentially ineligible to receive a U.S. passport,
    among other authorized uses. If you fail to provide the information, we may deny your application and the Internal Revenue Service
    (IRS) may enforce a penalty. Refer all questions on this matter to the nearest IRS office.
 6. Email: By providing your email you are consenting to us              7. Primary Contact Phone Number: If providing a mobile/cell
     communicating with you by email about your application.                phone number you are consenting to receive calls and/or text
                                                                            messaging about your application.
8. Mailing Address Line 1 and 2 "In Care Of": For line 1 enter applicant’s Street/RFD #, or P.O. Box or URB. For line 2, if you do not
    live at the address listed in this field, put the name of the person who lives at this address and mark it "In Care Of". If the applicant is
    a minor child, you must include the "In Care Of" name of the parent or adult registered to receive mail at this address.
9. List all other names you have used: Enter all legal names previously used to include maiden name, name changes, and previous
    married names. You can enter up to two names one in item A and one in item B. If only your last name has changed just enter your
    last name. If you need more space to write additional names, please use a separate sheet of paper and attach it to this form.
         Blue Section Application Page 1 - Identifying Documents and Signature Blocks: Skip this section and complete Application Page 2.
         Do not sign this form until requested to do so by the authorized agent who will administer the oath to you.


    DS-11 04-2022                                                                                                 Instruction Page 1 of 4
                      Case 2:25-cv-00127-JCC U.S. Department
                                              Document   12-5of State
                                                                   Filed 01/21/25                               Page 3 of 7
                                         APPLICATION FOR A U.S. PASSPORT
                                     SECTION D. ATTACHMENTS TO SUBMIT WITH THIS FORM
             Once you have completed Application Pages 1 and 2, attach the supporting documents as outlined in this section.
1.    PROOF OF U.S. CITIZENSHIP Information can be found on travel.state.gov/citizenship.
              Applicants Born in the United States                                         Applicants Born Outside the United States
Your evidence will be returned to you if it is not damaged, altered,          If we determine that you are a U.S. citizen, your lawful permanent
or forged. Submit an original or certified copy and a photocopy of            resident card submitted with this application will be forwarded to
the front and back if there is printed information on the back, of            U.S. Citizenship and Immigration Services.
one of the following documents:
                                                                              •     Claiming Citizenship through Naturalization of One or Both
•    U.S. Birth Certificate that meets all the following requirements:              Parent(s), submit all the following:
     o Issued by the city, county, or state of birth                                o Your parent(s) Certificate(s) of Naturalization
     o Lists your full name, birthdate, and birthplace                              o Your parents' marriage/certificate and/or evidence that you
     o Lists your parent(s)' full names                                                 were in the legal and physical custody of your U.S. citizen
     o Lists date filed with registrar's office (must be within one                     parent, if applicable
          year of birth)                                                            o Your foreign birth certificate (and official translation if the
     o Shows registrar's signature and the seal of the issuing                          document is not in English)
          authority                                                                 o Your evidence of admission to the United States for legal
•    Fully valid, undamaged U.S. passport (may be expired)                              permanent residence and proof you subsequently resided
•    Consular Report of Birth Abroad or Certification of Birth Abroad                   in the United States
•    Certificate of Naturalization or Citizenship
                                                                              •     Claiming Citizenship through Birth Abroad to At Least One U.S.
•    Secondary documents may be submitted if the U.S. birth                         Citizen Parent, submit all the following:
     certificate was filed more than one year after your birth or if no             o Your Consular Report of Birth Abroad (Form FS-240),
     birth record exists. For no birth record on file, submit a                          Certification of Birth (Form DS-1350 or FS-545), or your
     registrar's letter to that effect. For both scenarios, submit a                     foreign birth certificate (and official translation if the
     combination of the evidence listed below, with your first and last                  document is not in English)
     name, birthdate and/or birthplace, the seal or other certification             o Your parent’s proof of U.S. citizenship
     of the office (if customary), and the signature of the issuing                 o Your parents' marriage certificate
     official.                                                                      o Affidavit showing all your U.S. citizen parents' periods and
     o A hospital birth record                                                           places of residence and physical presence before your
     o An early baptismal or circumcision certificate                                    birth (DS-5507)
     o Early census, school, medical, or family Bible records
     o Insurance files or published birth announcements (such as           Claiming Citizenship Through Adoption by a U.S. Citizen
                                                                              •
          a newspaper article)                                             Parent(s), if your birthdate is on or after October 5, 1978,
     o Notarized affidavits (or DS-10, Birth Affidavit) of older blood     submit evidence of all the following:
          relatives having knowledge of your birth may be submitted        o Your permanent residence status
          in addition to some of the records listed above.                 o Your full and final adoption
                                                                           o You were in the legal and physical custody of your U.S.
                                                                                 citizen parent(s)
                                                                           o You have resided in the United States
2.   PROOF OF IDENTITY Information can be found at travel.state.gov/identification.
Present your original identification and submit a front and back photocopy with this form. It must show a photograph that is a good likeness
of you. Examples include:
• Driver's license (not temporary or learner's permit)            • Federal, state, or city government employee identification
• Previous or current U.S. passport book/card                     • Certificate of Naturalization or Citizenship
• Military identification
3.   A RECENT COLOR PHOTOGRAPH See the full list of photo requirements on travel.state.gov/photos.
Attach one photo, 2x2 inches in size. U.S. passport photo requirements may differ from photo requirements of other countries. To avoid
processing delays, be sure your photo meets all the following requirements (Refer to the photo template on Application Page 1):

•    Taken less than six months ago                                       •       No eyeglasses and head covering and no uniforms*
•    Head must be 1-1 3/8 inches from the bottom of the                   •       Printed on matte or glossy photo quality paper
     chin to the top of the head                                          •       Use a plain white or off-white background
•    Head must face the camera directly with full face in view
*Head coverings are not acceptable unless you submit a signed statement verifying that it is part of recognized, traditional religious attire
that is customarily or required to be worn continuously in public or a signed doctor's statement verifying its daily use for medical purposes.
Glasses or other eyewear are not acceptable unless you submit a signed statement from a doctor explaining why you cannot remove them
(e.g., during the recovery period from eye surgery). Photos are to be taken in clothing normally worn on a daily basis. You cannot wear a
uniform, clothing that looks like a uniform, or camouflage attire.


     DS-11 04-2022                                                                                                      Instruction Page 2 of 4
                     Case 2:25-cv-00127-JCC U.S. Department
                                             Document   12-5of State
                                                                  Filed 01/21/25                        Page 4 of 7
                                        APPLICATION FOR A U.S. PASSPORT
4. PROOF OF PARENTAL RELATIONSHIP (FOR APPLICANTS UNDER AGE 16)
Parents/guardians must appear in person with the child and submit the following:
• Evidence of the child's relationship to parents/guardian(s) (Example: a birth certificate or Consular Report of Birth Abroad listing the
     names of the parent(s)/guardian(s) and child)
• Original parental/guardian government-issued photo identification and a photocopy of the front and back (to satisfy proof of identity)
If only one parent/guardian can appear in person with the child, you must also submit one of the following:
• The second parent's notarized written statement or DS-3053 (including the child's full name and date of birth) consenting to the
     passport issuance for the child. The notarized statement cannot be more than three months old, must be signed and notarized on the
     same day, and must come with a front and back photocopy of the second parent's government-issued photo identification.
• The second parent’s death certificate (if second parent is deceased)
• Evidence of sole authority to apply (Example: a court order granting sole legal custody or a birth certificate listing only one parent)
• A written statement (made under penalty of perjury) or DS-5525 explaining, in detail, why the second parent cannot be reached
OR

PROOF OF PARENTAL AWARENESS (FOR APPLICANTS AGES 16 AND 17)
We may request the consent of one legal parent/legal guardian to issue a U.S. passport to you. In many cases, the passport authorizing
officer may be able to ascertain parental awareness of the application by virtue of the parent’s presence when the minor submits the
application or a signed note from the parent or proof the parent is paying the application fees. However, the passport authorizing officer
retains discretion to request the legal parent’s/legal guardian’s notarized statement of consent to issuance (e.g., on Form DS-3053).
5. FEES Passport service fees are established by law and regulation (see 22 U.S.C. 214, 22 C.F.R. 22.1, and 22 C.F.R. 51.50-56) and
are collected at the time you apply for the passport service. By law, the passport fees are non-refundable. Visit travel.state.gov/
passportfees for current fees and how fees are used and processed. Payment methods are as follows:
               Applicant Applying in the United States                      Applicant Applying at a Passport Agency or
                       At Acceptance Facility                                         Outside the United States
• Passport fees must be made by check (personal, certified,            • We accept checks (personal, certified, cashier’s, travelers);
    cashier’s, travelers) or money order (U.S. Postal, international,      major credit cards (Visa, Master Card, American Express,
    currency exchange) with the applicant's full name and date of          Discover); money orders (U.S. Postal, international, currency
    birth printed on the front and payable to "U.S. Department of          exchange); or exact cash (no change provided). Make all fees
    State."                                                                payable to the "U.S. Department of State."
• The execution fee must be paid separately and made payable • If applying outside the United States: Please see the website of
    to the acceptance facility in the form that they accept.               your embassy, consulate, or consular agency for acceptable
                                                                           payment methods.
Other Services Requiring Additional Fee (Visit travel.state.gov for more details):
• Expedite Service: Only available for passports mailed in the United States and Canada.
• 1-2 Day Delivery: Only available for passport book (and not passport card) mailings in the United States.
• Verification of a previous U.S. Passport or Consular Report of Birth Abroad: Upon your request, we verify previously issued
    U.S. passport or Consular Report of Birth Abroad if you are unable to submit evidence of U.S. citizenship.
• Special Issuance Passports: If you apply for a no-fee regular, service, official, or diplomatic passport at a designated acceptance
    facility, you must pay the execution fee. No other fees are charged when you apply.
                                              SECTION E. HOW TO SUBMIT THIS FORM
Submitting your form depends on your location and how soon you need your passport.
• Applicant Located Inside the United States: For the latest information regarding processing times, scheduling appointments, and
   nearest designated acceptance facilities visit travel.state.gov or contact NPIC.

•   Applicant Located Outside the United States: In most countries, you must apply in person at a U.S. embassy or consulate for all
    passport services. Each U.S. embassy and consulate has different procedures for submitting and processing your application. Visit
    travel.state.gov to check the U.S. embassy or consulate webpage for more information.
                          SECTION F. RECEIVING YOUR PASSPORT AND SUPPORTING DOCUMENTS
•   Difference Between U.S. Passport Book and Card: The book is valid for international travel by air, land, and sea. The card is not valid
    for international air travel, only for entry at land border crossings and seaports of entry when traveling from Canada, Mexico, Bermuda,
    and the Caribbean. The maximum number of letters provided for your given name (first and middle) on the card is 24 characters. If both
    your given names are more than 24 characters, you must shorten one of your given names you list on item #1 of Application Page 1.
•   Separate mailings: You may receive your newly issued U.S. passport book and/or card and your citizenship evidence in two separate
    mailings. If you are applying for both a book and card, you may receive three separate mailings: one with your returned evidence, one
    with your newly issued book, and one with your newly issued card. All documentary evidence that is not damaged, altered, or
    forged will be returned to you. Photocopies will not be returned.
•   Passport numbers: Each newly issued passport book or card will have a different passport number than your previous one.
•   Shipping and Delivery Changes: If your mailing address changes prior to receipt of your new passport, please contact NPIC. NOTE:
    We will not mail a U.S. passport to a private address outside the United States or Canada.
•   Passport Corrections, Non-Receipt/Undeliverable Passports, and Lost/Stolen Passport: For more information visit travel.state.gov
    or contact NPIC.
     DS-11 04-2022                                                                                             Instruction Page 3 of 4
                      Case 2:25-cv-00127-JCC U.S. Department
                                              Document   12-5of State
                                                                   Filed 01/21/25                          Page 5 of 7
                                         APPLICATION FOR A U.S. PASSPORT
                                                                  WARNING
False statements made knowingly and willfully in passport applications, including affidavits or other documents submitted to support this
application, are punishable by fine and/or imprisonment under U.S. law including the provisions of 18 U.S.C. 1001, 18 U.S.C. 1542, and/or
18 U.S.C. 1621. Alteration or mutilation of a passport issued pursuant to this application is punishable by fine and/or imprisonment under
the provisions of 18 U.S.C. 1543. The use of a passport in violation of the restrictions contained herein or of passport regulations is
punishable by fine and/or imprisonment under 18 U.S.C. 1544. All statements and documents are subject to verification.

      Failure to provide information requested on this form, including your Social Security number, may result in significant
                                      processing delays and/or the denial of your application.
                                                          ACTS OR CONDITIONS
If any of the below-mentioned acts or conditions have been performed by or apply to the applicant, a supplementary explanatory statement
under oath (or affirmation) by the applicant should be attached and made a part of this application.

I have not been convicted of a federal or state drug offense or convicted of a statutory "sex tourism" crime, and I am not the subject of an
outstanding federal, state, or local warrant of arrest for a felony; a criminal court order forbidding my departure from the United States; or
a subpoena received from the United States in a matter involving federal prosecution for, or grand jury investigation of, a felony.
                                                        PRIVACY ACT STATEMENT
AUTHORITIES: Collection of this information is authorized by 22 U.S.C. 211 a et seq.; 8 U.S.C. 1104; 26 U.S.C. 6039E, 22 U.S.C.
2714a(f), Section 236 of the Admiral James W. Nance and Meg Donovan Foreign Relations Authorization Act, Fiscal Years 2000 and
2001; Executive Order 11295 (August 5, 1966); and 22 C.F.R. parts 50 and 51.

PURPOSE: We are requesting this information in order to determine your eligibility to be issued a U.S. passport. Your Social Security
number is used to verify your identity.

ROUTINE USES: This information may be disclosed to another domestic government agency, a private contractor, a foreign government
agency, or to a private person or private employer in accordance with certain approved routine uses. These routine uses include, but are
not limited to, law enforcement activities, employment verification, fraud prevention, border security, counterterrorism, litigation activities,
and activities that meet the Secretary of State's responsibility to protect U.S. citizens and non-citizen nationals abroad. Your Social
Security number will be provided to the U.S. Department of the Treasury and may be used in connection with debt collection, among other
purposes authorized and generally described in this section. More information on the routine uses for the system can be found in System
of Records Notices State-05, Overseas Citizen Services Records and Other Overseas Records and State-26, Passport Records.

DISCLOSURE: Providing information on this form is voluntary. Be advised, however, that failure to provide the information requested on
this form may cause delays in processing your U.S. passport application and/or could also result in the refusal or denial of your application.
Failure to provide your Social Security number may result in the denial of your application (consistent with 22 U.S.C. 2714a(f)) and may
subject you to penalty enforced by the Internal Revenue Service, as described in the Federal Tax Law on Instruction Page 1 (Section C) to
this form.
                                             PAPERWORK REDUCTION ACT STATEMENT
Public reporting burden for this collection of information is estimated to average 85 minutes per response, including the time required for
searching existing data sources, gathering the necessary data, providing the information and/or documents required, and reviewing the
final collection. You do not have to supply this information unless this collection displays a currently valid OMB control number. If you have
comments on the accuracy of this burden estimate and/or recommendations for reducing it, please send them to: Passport Forms Officer,
U.S. Department of State, Bureau of Consular Affairs, Passport Services, Office of Program Management and Operational Support, 44132
Mercure Cir, PO Box 1199, Sterling, Virginia 20166-1199.




   For more information about your application status, online tools, current fees, and
                    processing times, please visit travel.state.gov.




    DS-11 04-2022                                                                                                 Instruction Page 4 of 4
                Case 2:25-cv-00127-JCC   Document 12-5   Filed 01/21/25   Page 6 of 7




                                                                              DS 11 C 03 2022 1
DS-11 04-2022                                                                             Page 1 of 2
                Case 2:25-cv-00127-JCC   Document 12-5   Filed 01/21/25   Page 7 of 7




                                                                             DS 11 C 03 2022 2
DS-11 04-2022                              Clear Form                                     Page 2 of 2
